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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-60827-CIV-SINGHAL/VALLE

ATP SCIENCE PROPRIETARY, LTD.,
an Australian proprietary limited
company, and ATP INSTITUTE
PROPRIETARY LIMITED, an Australian
proprietary limited company,

        Plaintiffs,

v.

CAESAR BACARELLA, an individual,
ALPHA PRIME APPAREL, INC., a Florida
Corporation, and ALPHA PRIME REGIMEN,
LLC, a Florida limited liability company,

     Defendants.
______________________________________/

                            ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court on the parties’ Stipulation of Dismissal with Prejudice

(DE [120]). The Court having reviewed the Stipulation and the docket, it is hereby

        ORDERED AND ADJUDGED that all Plaintiffs’ and Defendants’ claims against each other are

DISMISSED WITH PREJUDICE. Each party shall bear its own attorney’s fees and costs. The Court

retains jurisdiction to enforce the parties’ settlement agreement in effect as of August 24, 2021. The

Clerk of Court is directed to CLOSE this case and DENY AS MOOT any pending motions.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 16th day of September

2021.




Copies furnished to counsel via CM/ECF
